                        Case 2:23-cr-00599-MCS Document 209 Filed 08/23/24 Page 1 of 2 Page ID
    UNITED STATES DISTRICT COURT                            TRANSCRIPT   #:4233 ORDER FORM                                COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA          Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                        directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person         Mark Geragos                                                           2a. Contact Phone           213-625-3900                            3a. Contact E-mail        geragos@geragos.com
       for this Order                                                                                    Number                                                              Address


   1b. Attorney Name          Mark Geragos                                                           2b. Attorney Phone          213-625-3900                            3b. Attorney E-mail geragos@geragos.com
       (if different)                                                                                    Number                                                              Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                             5. Name & Role of             Robert Hunter Biden, Defendant
                                                                                                                           Party Represented
   Geragos & Geragos, APC.
   644 S. Figueroa Street
                                                                                                                        6. Case Name                  USA v. Robert Hunter Biden
   Los Angeles, CA 90017

                                                                                                                        7a. District Court            2:23-cr-00599-MCS                                  7b. Appeals Court
                                                                                                                            Case Number                                                                      Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                         DIGITALLY RECORDED                              TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER:


 9. THIS TRANSCRIPT ORDER IS FOR:                          Appeal             Non-Appeal                          Criminal                 Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                                       You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                             provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                         (CM/ECF access included          c. RELEASE OF TRANS.
                                                                                                                                            b. SELECT FORMAT(S)                                                                          d.        DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                                                   with purchase of transcript.)      RESTRICTION DATE             30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.gov.)
    HEARING Minute Order                                           PROCEEDING TYPE / PORTION                                                          TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (Check with court reporter
                       Docket#       JUDGE         If requesting less than full hearing, specify portion (e.g., witness or time).
                                                                                                                                             PDF                                            WORD
                                                                                                                                                                                                           efiled transcript, or check to before choosing any delivery time
     DATE                                                                                                                                              ASCII    PAPER      SED     ACCESS
                    (if available)   (name)            CJA orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                            (email)
                                                                                                                                                      (email)            (email)    (web)
                                                                                                                                                                                          INDEXING
                                                                                                                                                                                                             certify none yet on file. )    sooner than "Ordinary-30.")

 8/21/2024              207             Scarsi          Pretrial Conference                                                                   ●                                                             ●       11/21/2024            DAILY (Next day)




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date August 23, 2024                           Signature /s/ Mark Geragos
G-120 (06/18)
                                  Case 2:23-cr-00599-MCS
                                 CENTRAL                  DocumentTRANSCRIPT
                                          DISTRICT OF CALIFORNIA   209 Filed 08/23/24 Page
                                                                             ORDER FORM     2 of 2 Page ID
                                                                                         - INSTRUCTIONS
                                                                   #:4234
Please use this form to order transcripts of court proceedings. Additional information about ordering transcripts is available on the Court's website at www.cacd.uscourts.
gov/court-reporting-services/court-reporterrecorder-transcripts. Before ordering, however, you must check the docket to see if the transcript has already been filed. In
addition, if a proceeding was sealed, you must obtain a court order before requesting the transcript. You must also determine which court reporter covered the hearing, or
whether it was digitally recorded (many proceedings held before Magistrate Judges are digitally recorded); check the Court Reporter Schedule and the Minutes of the
proceeding. Then:
         1. Complete a separate G-120 order form for each case number for which transcripts are ordered.
         2. Complete a separate G-120 order form for each court reporter who reported proceedings in the case, and one for any digitally recorded proceedings.
         3. Complete Items 1-12. Keep a copy of your completed order form for your records.
         4. CJA Counsel must submit this form using the Central District's eVoucher system. Otherwise, this form must be e-filed in the Central District's CM/ECF
         system, except when the order is placed by someone without e-filing privileges or by a non-party. In such cases, e-mail the completed form to the Court Reporting
         Services Office at either transcripts_cacd@cacd.uscourts.gov (for court reporter orders) or courtrecording_cacd@cacd.uscourts.gov (for digitally recorded hearings).
         E-filers should complete the form, "print to PDF" or scan (first page only) in LANDSCAPE, and e-file using either the Civil or Criminal "Transcript Order Form
         (G-120)" event in CM/ECF.
         5. CJA orders will be processed in eVoucher. For other orders, after e-filing the completed G-120 you will receive an email from the Court Reporting Services
         Office with further instructions.
                                                               ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3. In fields 1a, 2a, & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this may be a
paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Item 5. Include both the name and role of the ordering party (i.e., "Defendant John Smith"). May be left blank if order is being placed by a non-party.
Item 7a. Only one case number may be listed per order.
Item 8. Refer to the Minutes of the proceeding to determine whether the hearing was digitally recorded ("CS" or "CourtSmart") or transcribed by a court reporter. If the
Minutes read "MINUTES (IN CHAMBERS)," this means no proceeding was held, no recording was made, and no court reporter was present, so no transcript exists. If no
Minutes have been filed, contact the judge's courtroom deputy (list here). If the Minutes indicate the proceeding was sealed, you need a court order to get the transcript.
Item 9. Check appeal OR non-appeal AND criminal OR civil. You may also check one of the other boxes if applicable. NOTE: a court order specifically authorizing
transcripts is required before transcripts may be ordered in forma pauperis.
Item 10a. List specific date(s) of the proceeding(s) for which transcript is requested. Under "Proceeding Type/Portion," indicate briefly what type of proceeding it was,
such as "motion hearing," "sentencing," or "trial." A transcript of only a portion of a proceeding may be ordered, if the description is clearly written to facilitate processing.
Item 10b. Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered.
Item 10c. For each proceeding, you must either provide the Release of Transcript Restriction date or mark the circle to certify that no transcript has yet been e-filed.
Item 10d. Seven DELIVERY TYPES are available. Times are computed from date payment is satisfied (or, for government orders, the DCN number received). NOTE: Full
price may be charged only if the transcript is delivered within the required time frame. For example, if an order for an expedited transcript is not completed and delivered
within 7 calendar days, the 14-day delivery rate would be charged. Visit www.cacd.uscourts.gov/court-reporting-services/court-reporterrecorder-transcripts for rates.
         TRANSCRIPT DELIVERY TIMES (For anything other than "Ordinary" delivery, you must check with the court reporter first to see if the option is available.)
                  ORDINARY ─ 30 calendar days.              DAILY (NEXT DAY) ─ To be delivered the next calendar day whether or not actually a court day,
                  14-DAY ─ 14 calendar days.                   prior to the normal opening hour of the Clerk's Office.
                  EXPEDITED ─ 7 calendar days.              HOURLY (SAME DAY) ─ Within two (2) hours.
                  3-DAY ─ 3 calendar days.                  REALTIME ─ A draft unedited transcript produced by a certified realtime reporter as a byproduct of
                                                               realtime to be delivered electronically during proceedings or immediately following receipt of the order.
Item 11. CJA Counsel must explain why special requests are necessary to the representation. Special requests include opening statements, closing arguments, voir dire, or
jury instructions; transcripts for use in proceedings other than appeals; transcripts of proceedings involving only a co-defendant; requests for expedited handling; and
requests covered by Section 14 of the CJA-24 Voucher.
Item 12. Sign and date in this space to certify that you will either pay all charges (the deposit plus any additional charges) or promptly take all steps necessary to secure
payment under the CJA. An electronic or conformed (/s/) signature is acceptable.
                                                                                                                                                                       G-120 (06/18)
